              Case 20-12814-mkn     Doc 863     Entered 08/31/20 12:51:19        Page 1 of 6




 1

 2

 3

 4    Entered on Docket
      August 31, 2020
  ___________________________________________________________________
 5                           UNITED STATES BANKRUPTCY COURT

 6                                     DISTRICT OF NEVADA

 7                                             ******
     In re:                                        Case No. BK-S-20-12814-mkn
 8
                                                      Jointly Administered with
 9 RED ROSE, INC.,                                    Case No. BK-S-20-12815-mkn
10  Affects Beachhead Roofing and Supply,            Case No. BK-S-20-12816-mkn
   Inc.                                               Case No. BK-S-20-12818-mkn
11  Affects California Equipment Leasing             Case No. BK-S-20-12819-mkn
   Association, Inc.                                  Case No. BK-S-20-12820-mkn
12                                                    Case No. BK-S-20-12821-mkn
    Affects Fences 4 America, Inc.
                                                      Case No. BK-S-20-12822-mkn
13  Affects James Petersen Industries, Inc.          Case No. BK-S-20-12823-mkn
    Affects PD Solar, Inc.
14  Affects Petersen Roofing and Solar LLC           Case No. BK-S-20-12824-mkn
    Affects Petersen-Dean, Inc.                      Case No. BK-S-20-12825-mkn
15  Affects PetersenDean Hawaii LLC                  Case No. BK-S-20-12826-mkn
    Affects PetersenDean Roofing and Solar           Case No. BK-S-20-12827-mkn
16                                                    Case No. BK-S-20-12829-mkn
   Systems, Inc.
                                                      Case No. BK-S-20-12831-mkn
17  Affects PetersenDean Texas, Inc.
    Affects Red Rose, Inc.                           Case No. BK-S-20-12833-mkn
18  Affects Roofs 4 America, Inc.                    Chapter 11
    Affects Solar 4 America, Inc.
19  Affects Sonoma Roofing Services, Inc.
                                                      RULING ON MOTION:
    Affects TD Venture Fund, LLC                     (I) AUTHORIZING DEBTORS TO
20
    Affects Tri-Valley Supply Inc.                   (A) OBTAIN POST-PETITION DIP
21  Affects All Debtors                              FACTORING, (B) GRANT PRIMING
                                                      LIENS AND SUPERPRIORITY CLAIMS,
22                                                    AND (C) SELL ACCOUNTS FREE AND
                                                      CLEAR; AND (II) MODIFYING THE
23
                                                      AUTOMATIC STAY1
24
                                                      Date: August 26, 2020
25 ____________________________________               Time: 10:30 a.m.
26

27
              1
            In this Ruling, all references to “ECF No.” are to the numbers assigned to the
28 documents filed in the case as they appear on the docket maintained by the clerk of the court,
   unless otherwise noted.
           Case 20-12814-mkn        Doc 863      Entered 08/31/20 12:51:19       Page 2 of 6




 1         On August 18, 2020, a final hearing was held on the Motion: (I) Authorizing Debtors to

 2 (A) Obtain Post-Petition DIP Factoring, (B) Grant Priming Liens and Superpriority Claims, and

 3 (C) Sell Accounts Free and Clear; and (II) Modifying the Automatic Stay (“DIP Factoring

 4 Motion”) brought by the above-captioned Debtors. The hearing was continued to August 26,

 5 2020, to allow interested parties to propose alternative language to include in a final order.
                                    PROCEDURAL SUMMARY2
 6
           1.     On June 11, 2020, the above-captioned Debtors commenced separate Chapter 11
 7
                  proceedings. Joint administration of the cases was ordered and Red Rose, Inc.
 8                (“DIP”) designated as the lead debtor in possession (collectively “Debtors”).
           2.     On July 27, 2020, the instant DIP Factoring Motion was filed and was heard on an
 9                emergency basis on July 29, 2020, pursuant to an order shortening time. (ECF
10                Nos. 510 and 516). The motion seeks to approve the extension of post-petition
                  financing to the DIP under an agreement with LS DE LLC and LSQ Funding
11                Group, L.C. (collectively “LSQ”) to factor the DIP’s accounts receivables.
           3.     On July 28, 2020, ABC Supply (“ABC”) opposition. (ECF No. 546).
12         4.     On July 28, 2020, the Official Committee of Unsecured Creditors filed an
13                objection. (ECF No. 563).
           5.     On July 29, 2020, Silfab Solar filed a joinder in the ABC objection. (ECF No.
14                565).
           6.     On July 31, 2020, an Interim Order Authorizing DIP Factoring under 363 and 364
15
                  entered (“Interim DIP Factoring Order”). (ECF No. 600). A final hearing to
16                approve entry of a final order was scheduled for August 18, 2020.
           7.     On August 11, 2020, Beacon Sales filed a limited objection to entry of a final
17                order. (ECF No. 682).
18         8.     On August 11, 2020, Zions Bank filed limited response to entry of a final order.
                  (ECF No. 685).
19         9.     On August 11, 2020, Argonaut Insurance filed a limited objection to entry of a
                  final order. (ECF No. 686).
20
           10.    On August 11, 2020, ABC filed an objection to entry of a final order. (ECF No.
21                689).
           11.    On August 14, 2020, LSQ filed a reply in support of entry of a final order. (ECF
22                No. 707).
23         12.    On August 14, 2020, Debtors filed a joinder in the LSQ reply. (ECF No. 712).

24

25
           2
            Pursuant to FRE 201(b), the court takes judicial notice of all materials appearing on the
26 docket in the Debtor’s bankruptcy cases as well as the publicly filed documents referenced in
   those materials. See U.S. v. Wilson, 631 F.2d 118, 119 (9th Cir. 1980). See also Bank of Am.,
27 N.A. v. CD-04, Inc. (In re Owner Mgmt. Serv., LLC Trustee Corps.), 530 B.R. 711, 717 (Bankr.

28 C.D. Cal. 2015) (“The Court may consider the records in this case, the underlying bankruptcy
   case and public records.”).
                                                    2
            Case 20-12814-mkn          Doc 863      Entered 08/31/20 12:51:19         Page 3 of 6




            13.     On August 14, 2020, Independent Electric Supply and Onesource Distributors
 1
                    (“Independent Electric”) filed a limited response to entry of a final order. (ECF
 2                  No. 713).
            14.     On August 17, 2020, LSQ filed a Notice of Proposed Final Order Authorizing
 3                  DIP Factoring (“LSQ Proposed Final DIP Factoring Order”). (ECF No. 724).
 4          15.     On August 18, 2020, the hearing on approval of a final order was continued to
                    allow counsel to submitted proposed revised or additional language.
 5          16.     On August 24, 2020, Thompson Thrift filed a Notice of Proposed Final Order
                    Authorizing DIP Factoring (“Thompson Proposed Final DIP Factoring Order”).
 6
                    (ECF No. 775).
 7          17.     On August 24, 2020, Silfab Solar USA (“Silfab”) filed a joinder in the Thompson
                    Proposed Final DIP Factoring Order (“Silfab Joinder”). (ECF No. 791).
 8          18.     On August 25, 2020, Thompson Thrift filed an errata to its Notice of Proposed
                    Final DIP Factoring Order. (ECF No. 802).
 9
                                       DISCUSSION AND RULING3
10
            The court previously found that issuance of the Interim DIP Factoring Order was in the
11
     best interest of the Debtors, their creditors and other parties in interest. That order authorizes the
12
     Debtors to enter into a DIP Factoring Agreement consisting of a variety of documents including
13
     a certain Invoice Purchase Agreement (“IPA”).4 Due to the cashflow needs of the Debtors, the
14

15

16          3
            ACF FinCo is the primary pre-petition lender in these Chapter 11 proceedings. On July
17 31, 2020, the court entered a Final Order (I) Authorizing the Use of Cash Collateral Pursuant to
   Section 363 of the Bankruptcy Code, (II) Granting Adequate Protection Pursuant to Sections
18 361, 362, and 363 of the Bankruptcy Code, (III) Granting Liens and Superpriority Claims, and
   (IV) Modifying the Automatic Stay, and (V) Scheduling a Final Hearing (“Final Cash Collateral
19 Order”). (ECF No. 601).

20          4
              A “DIP Addendum to Invoice Purchase Agreement” (“DIP Addendum”) is incorporated
21   in the IPA along with a “Construction Addendum to Invoice Purchase Agreement”
     (“Construction Addendum”). The IPA itself authorizes the Debtors to sell, and gives LSQ the
22   discretion to purchase, certain invoices from the Debtors, and also provides a lien in favor of
     LSQ to secure various payment of various prepetition and postpetition payment obligations.
23   Among other things, the DIP Addendum provides for certain prepetition payment obligations
24   owed to LSQ to be afforded superpriority administrative expense priority status and lien priority
     junior only to the liens and encumbrances of ACF Finco. Among other things, the Construction
25   Addendum assigns to LSQ the Debtors’ rights under their construction contracts with their
     customers, including Debtors’ ability to communicate with contractors and subcontractors, as
26   well as a power of attorney that encompasses “the right of Purchaser to execute any documents
     any Contractor or subcontractor to a Construction Agreement reasonable (sic) requires to enable
27   Purchaser to receive payment of amounts due Seller, sold and assigned to Purchaser pursuant to
28   the IPA, as modified and supplemented or amended.” The IPA, DIP Addendum, and
     Construction Addendum are to be executed on behalf of the Debtors and LSQ, but no others.
                                                       3
            Case 20-12814-mkn         Doc 863      Entered 08/31/20 12:51:19        Page 4 of 6




 1 Interim DIP Factoring Order was entered on an emergency basis to work in conjunction with
                                                                                           5
 2 separate “Critical Vendor Procedures” that previously were approved on an interim basis.

 3          Objections were raised to the entry of a final order approving the DIP Factoring Motion

 4 and the LSQ Proposed Final DIP Factoring Order was submitted in response to those objections.
   The primary difference between the Interim DIP Factoring Order and the LSQ Proposed Final
 5
   DIP Factoring Order is additional language addressing customer payments to the Debtors by
 6
   issuance of joint checks in accordance with the Critical Vendor Procedures set forth in the
 7
   Interim Critical Vendor Order. Final approval of the Critical Vendor Motion is the subject of a
 8
   separate final order (“Final Critical Vendor Order”) entered contemporaneously herewith.
 9
   Various objections to the LSQ Proposed Final DIP Factoring Order were raised. The LSQ
10
   Proposed Final DIP Factoring Order includes additional language in Paragraph 36 allowing DIP
11
   customers to be directed to make payments directly to LSQ, except for those customers
12
   authorized by the Final Critical Vendor Order to make payments directly to the Debtors by joint
13
   check.6 The Debtors as well as their principal lender, ACF FinCo, join in the LSQ Proposed
14
           5
             On June 25, 2020, Debtors filed an Emergency Motion for Order Authorizing Payment
15 of Critical Vendor Claims (“Critical Vendor Motion”). (ECF No. 130). On July 10, 2020, an
   Interim Order Authorizing Payment of Critical Vendor Claims and Scheduling a Final Hearing
16
   (“Interim Critical Vendor Order”) was entered. (ECF No. 313). A hearing to approve entry of a
17 final order in that matter was held contemporaneously with the hearing to approve a final order
   on the DIP Factoring Motion. The Critical Vendor Motion addresses the Debtors’ continued
18 relationship to certain vendors whose timely payment is determined to be “critical” to the
   continued operations of the Debtors under various construction contracts with its customers.
19 According to the Debtors, “The Construction Contracts typically provide that the Customer’s

20 obligation to make the Completion Payments is dependent upon receipt of all lien waivers from
   all Vendors, and reserve the right of the Customer to pay Vendors directly, by joint check or
21 otherwise. Depending on the Contract and size of the job, Customers may or may not provide
   partial payments along the way.” Declaration of Jeffrey C. Perea in Support of Emergency
22 Motion for an Order Authorizing Payment of Critical Vendor Claims at ¶ 6, filed June 25, 2020.
   (ECF No. 131).
23
            6
24             The LSQ Proposed Final Critical Vendor Order includes the following additional
     language: “Any joint check payment by an Objecting Customer on account of an Approved
25   Critical Vendor Claim shall be held by Debtor in trust for such Vendor to the extent of the
     Vendor’s outstanding Approved Critical Vendor Claim, and provided that such remittance is
26   subject to trust under applicable state law.” At the final hearing, the court was not provided a
     satisfactory explanation why this additional language in the LSQ Proposed Final Critical
27   Vendor Order was not included at the end of Paragraph 36 of the LSQ Proposed Final DIP
28   Lending Order.

                                                      4
            Case 20-12814-mkn        Doc 863     Entered 08/31/20 12:51:19        Page 5 of 6




 1 Final Critical Vendor Order. An alternative proposed final DIP Financing Order was submitted
                      7                                  8
 2 by Thompson Thrift, with a modified joinder by Silfab.

 3          The court has considered the language of the LSQ Proposed Final DIP Factoring Order,

 4 supported by the Debtors and ACF FinCo, and concludes that its entry is appropriate, subject to
   the revisions set forth below. Like the Interim DIP Factoring Order, the court finds that entry of
 5
   a final order granting the DIP Factoring Motion fulfills an immediate need for additional funds to
 6
   continue operations of the business. Similarly, the court finds that the proposed financing on a
 7
   postpetition basis is not available on more favorable terms and the use of additional cash
 8
   collateral is not otherwise available. Moreover, the prepetition lender, ACF FinCo, has
 9
   consented to the terms of the proposed DIP factoring on a final basis. These findings are further
10
   supported by the entry of a Final Critical Vendor Order which includes express findings that a
11
   program to pay prepetition claims of certain critical vendors is in the best interests of the
12
   Debtors’ estate, the creditors, and other parties in interest. The findings in connection with a
13
   final order on the DIP Factoring Motion, as well as in the final order on the Critical Vendor
14 Motion, are further supported by the express findings in the Final Cash Collateral Order.

15          The objections raised by Thompson Thrift, joined and amplified by Silfab, also have been
16 considered. Inclusion of the additional language suggested by Thompson Thrift for the end of

17 Paragraph 36 will not be required in light of the additional language to be included in the Final

18 Critical Vendor Order preserving the trust requirements for payments made by customers to the

19
            7
20            Thompson Thrift proposes the following alternative language be inserted at the end of
     Paragraph 36 of the LSQ Proposed Final DIP Financing Order: “Any payment by an Objecting
21   Customer shall only be made subject to and in accordance with the underlying contract between
     the Objecting Customer and the Debtors, and any payment made by an Objecting Customer on
22   account of an Approved Critical Vendor Claim or other supplier claim, whether by joint check
     or otherwise, shall be held in trust for such vendor/supplier and shall not be used or disbursed
23   for any other purpose.” Thompson Proposed Final DIP Financing Order at 19:4-8 (emphasis
24   added).
            8
25          Silfab proposes that the following language be added to the end of Paragraph 34 of the
   LSQ Proposed Final DIP Financing Order: “For the avoidance of doubt and as clarified on the
26 record during the August 18, 2020 hearing on the DIP Factoring Motion, all vendors connected
   to an acceptable, purchased receivable by LSDE will be treated as Critical Vendors under the
27 Critical Vendor Order; all outstanding Prepetition Mechanics’ liens connected to such receivable

28 will be satisfied before a project owner is required to make payment; and proper noticing will be
   made available that all liens have been satisfied.” See Silfab Joinder at 2:8-18.
                                                     5
           Case 20-12814-mkn         Doc 863     Entered 08/31/20 12:51:19        Page 6 of 6




 1 DIP by joint check. Moreover, the additional language suggested by Thompson, see note 7,

 2 supra, may impose a requirement on the Debtors to hold customer payments in trust, even if no

 3 such requirement currently exists and even if such payments are not made by joint check.

 4         By contrast, Paragraph 36 that addresses Critical Vendors should be harmonized with the

 5 language proposed to be included in the Final Critical Vendor Order. That proposed language

 6 includes a specific provision addressing authorized customer payments by joint check and the

 7 protections afforded by applicable State law. See note 6, supra. Identical language is

 8 appropriate in connection with the DIP Factoring Motion.

 9         Similarly, the additional language suggested by Silfab for the end of Paragraph 34, see

10 note 8, supra, is consistent with the preceding language in that Paragraph, and also is consistent

11 with the explanation and clarification of the treatment of certain mechanics’ liens and statutory

12 liens presented by LSQ in open court. Inclusion of the language proposed by Silfab is

13 appropriate.

14         Based on the foregoing, the court will require that the aforementioned additions be made

15 to the LSQ Proposed Final Critical Vendor Order. All other objections raised to entry of a final

16 order on the DIP Financing Motion are overruled.

17                                          CONCLUSION

18         No later than two court days from entry of this Ruling, a Final DIP Financing Order

19 consistent herewith must be submitted by the Debtors for entry in these proceedings.

20
     Copies sent via CM/ECF ELECTRONIC FILING
21
     Copy sent via BNC to:
22

23 LORI E. EROPKIN on behalf of Creditor LS DE, LLC
   15303 VENTURA BLVD., STE 1650
24 SHERMAN OAKS, CA 91403

25 LORI E. EROPKIN on behalf of Creditor LSQ FUNDING GROUP L.C.
   15303 VENTURA BLVD., STE 1650
26
   SHERMAN OAKS, CA 91403
27
                                            ###
28

                                                    6
